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                                                                    December 22, 2021

Via Email and ECF
The Honorable Eric Komitee
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

       Re:     United States v. Kyle Balkissoon, 21-CR-186 (EK)

Dear Judge Komitee,

        Pretrial Services has alerted me to an accidental oversight in the bond issued today in the
above-captioned case. Mr. Balkissoon remains on New York state parole, and is required to
report to his parole officer upon his release. We respectfully ask the Court to modify the bond so
that Mr. Balkissoon can report to his parole officer as directed.

                                                             Respectfully Submitted,

                                                                            /s/
                                                             Mia Eisner-Grynberg
                                                             Staff Attorney
                                                             (718) 330-1257

cc:    Clerk of Court (EK) (by ECF and email)
       AUSA Garen Marshall (by ECF and email)




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